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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,

Plaintiff,
CASE NO. CRO00-482C
v.
ORDER
JAMES HOUSTON ANDERSON, et al.,

Defendants.

 

 

This matter comes before the Court on defendant James Houston Anderson’s motion for Hyde
Amendment fees, sanctions, and di scovery (Dkt. No. 108) and Mr. Anderson’s motion to strike
plaintiff's supplemental response to that motion (Dkt. Na. 124). The Court has considered the papers
submitted by the parties and determined that oral argument is not necessary. For the following reasons,
Mr. Anderson's motion for Hyde Amendment fees, sanctions, and discovery is hereby DENIED, and
Mr. Anderson’s motion to strike plaintiffs supplemental response to that motion is hereby DENIED.

As a preliminary matter, Mr. Anderson moves to strike plaintiff's supplemental response to his
motion for Hyde Amendment fees, sanctions, and discovery. Mr. Anderson properly noted the

underlying motion for August 17,2001. The parties briefed the motion in conformance with Local Civil

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Rule 7, but on September 12, 2001, plaintiff filed an untimely supplemental response. Plaintiff did not
request leave of Court to file this supplemental pleading. However, considering the highly detailed
nature of Mr. Anderson’s factual arguments and the significance of the underlying motion, the Court
concludes that it shall consider plaintiff's supplemental response and the attached affidavit of Thomas C.
Wales. Moreover, the Hyde Amendment provides that the Court, ‘for good cause shown, may receive
evidence ex parte and in camera.” Although this provision does not ratify plaintiffs supplemental
response here, it does reflect a statutory intent to provide the Court wide evidentiary latitude with respect
to evaluating a motion for fees and costs.’ Therefore, the Court DENIES Mr. Anderson’s motion to
strike plaintiff's supplemental response to his motion for Hyde Amendment fecs, sanctions, and
discovery.

Mr. Anderson argues that he is entitled to attorney’s fees and costs stemming from this
prosecution because the government’s position was vexatious, frivolous, and in bad faith. The Hyde
Amendment provides, in relevant part:

[T]he court, in any criminal case (other than a case in which the defendant is represented by
assigned counsel paid for by the public) ... may award to a prevailing party, other than the
United States, a reasonable atlomey’s fee and other litigation expenses, where the court finds
that the position of the United States was vexatious, frivolous, or in bad faith, unless the
court finds that special circumstances make such an award unjust. Such awards shall be
granted pursuant to the procedures and limitations (but not the burden of proof) provided for
an award under section 2412 of title 28, United States Code,
18 U.S.C. § 3006A. The Hyde Amendment is directed at the government’s litigation position. United
States v. Sherburne, 249 F.3d 1121, 1128 (9th Cir. 2001). It provides a defendant some relief for
prosecutorial misconduct, net prosecutorial mistake. United States v. Braunstein, 281 F.3d 982, 995

(9th Cir. 2002) (quotations and citations omitted).

Plaintiff first contends that Mr. Anderson is not a “prevailing party” because plaintiff dismissed

 

‘ Whether a motion pursuant to the Hyde Amendment is a civil or criminal matter is net
dispositive of the issue presently before the Court. See generaily United States v. Braunstein, 281 F.3d
982, 993 (9th Cir. 2002) (holding that Hyde Amendment appeal is civil matter).

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all charges against him, However, as Mr. Anderson notes, the Court ordered the dismissal of the
Indictment against him on June 29, 2001 (Dkt. No. 104). Plaintiff's argument is without merit; Mr.
Anderson is a prevailing party as contemplated by the Hyde Amendment.

The parties do not dispute the Hyde Amendment’s legal standards or their disjunctive nature.
First, a “vexatious” litigation position requires both a subjective and objective element; that is, “fees are
permissible when the prosecution was unwarranted because it was intended to harass and without
sufficient foundation.” Sherburne, 249 F.3d at 1127. Second, “frivolous” means “groundless . . . with
little prospect of success; often brought to annoy or embarrass the defendant.” Braunstein, 281 F.3d at
995 (quotations and citations omitted). A defendant’s burden is to demonstrate that the government’s
position was “foreclosed by binding precedent or so obviously wrong .” Id. Third, in dicta the Ninth
Circuit adopted the Eleventh Circuit’s definition of “bad-faith”: it is not “simply bad judgment or
negligence, but rather it implies the conscious doing of a wrong because of dishonest purpose... it
contemplates a state of mind affirmatively operating with furtive design or ill will." Id. (citing United
States v. Gilbert, 198 F.3d 1293, 1298 (11th Cir. 1999)).

Here, because plaintiff dismissed the charges against Mr. Anderson, the Court lacks the benefit
of a trial record or the full development of the parties’ respective factual allegations. The Court has
carefully reviewed the materials submitted by Mr. Anderson, including defense counsel’s September 21,
2000 letter to plaintiff's counsel. That letter, written prior to Mr. Anderson’s indictment, provides a
detailed summary of Mr. Anderson’s perspective on the events at issue. It discusses his role as financier
of the Intrex helicopter-rebuiiding project, his lack of professional experience with respect to helicopter
parts and mechanics, his ignorance that Mr. Powell lacked good title to the helicopter, and his

knowledge of and relationship to Federal Aviation Administration (FAA) inquiries and investigations.’

 

* Tt is essential to distinguish the FAA’s inquiries and investigations from plaintiff s litigation
position. The Hyde Amendment speaks to the litigation position of the United States, not prior acts by
administrative agencies. Whether improper motives existed within the FAA does not contro! the instant
analysis. Even if such motives led certain FAA employees to overly scrutinize Intrex’s activities, their
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However, regardless of whether Mr. Anderson was Mr, Powell’s “innocent victim,” had knowledge of
unlaw ful actrvity, or participated in any such activity, this Court’s inquiry is limited to whether the
United States adopted a litigation position that was ‘‘vexatious, [tivolous, or in bad faith.”

Plaintiff demonstrates that, at the time of the Indictment, it possessed evidence leading to the
reasonable conclusion that Mr. Anderson knowingly acted with Mr. Powcll to rmproperly certify
Intrex’s rebuilt helicopter. At this time, plaintiff was relying on a legal interpretation that suggested Mr.
Anderson had acted unlawfully. Regardless of defense counsel’s explanations to the contrary, this
evidence provided a reasonable basis for the Indictment. In addition, as the investigation progressed,
plaintiff could reasonably rely on Mr. Powell’s statements implicating Mr. Anderson in criminal activity
because Mr. Poweil has personal knowledge of the events giving rise to the Indictment. Mr. Anderson
vigorously disputes Mr. Powell’s statements. Yet, whether true or false, the statements corroborated
other evidence supporting the Indictment.

Plaintiff moved to dismiss the Indictment as to Mr. Anderson, in part, because the FAA’s senior
expert on the differences between Bell 204B helicopters and Bell UH-1 helicopters:

disagrees with Bell Helicopter and the Government’s expert witness on whether use of

uniquely military parts on civilian helicopters is inherently dangerous, and the FAA’s expert

believes that there is no inherent safety consideration in the conversion , assuming the

military parts used are equivalent to, or better than, the parts they replace.
The motion also cites the experts’ disagreement with respect to whether “a helicopter bearing Bell Serial
No. 2030, and allegedly repaired/rebuilt utilizing uniquely military Bell UH-1 parts, is a civilian Bell
204B helicopter.” It appears a dispute remains as to the proper interpretation of the relevant federal
regulations.

Mr. Anderson fails to set forth sufficient evidence showing that plaintiff's litigation was

vexatious, frivolous, or in bad faith. There is no evidence that plaintiff adopted a litigation position to

annoy, harass, or with ill will or dishonest purpose toward Mr. Anderson. Moreover, Mr. Anderson scts

 

inquiries and investigations generated sufficient valid evidence on which to base the Indictment.
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forth no binding precedent that suggests plaintiff's litigation position was “so obviously wrong.” As
stated, 1t appears to be the subject of expert dispute. Further, regardless of whether the evidence, which
provided the basis for the Indictment, was ultimately convincing, there 1s no evidence that plaintiffs
prosecutorial decision was in bad faith. Mr. Anderson attaches significance to the fact that plaintiff
dismissed all charges against him before trial. Although the dismissal suggests that plaintiff reassessed
the merits of its case subsequent to the Indictment, it does not suggest any dishonest purpose in the
[Indictment itself.’ The Hyde Amendment should not dissuade the United States from reconsidering the
merits of its position as an investigation progresses. See United States v. Knott, 256 F.3d 20, 33 (1st
Cir. 2001). As stated above, the Hyde Amendment is directed to misconduct, not mistake. It is not the
forum to try a case previously dismissed. Accordingly, the Court DENIES defendant James Houston
Anderson’s motion for Hyde Amendment fees, sanctions, and discovery.

In the alternative, Mr. Anderson asks the Court to employ its “inherent powers” to authorize the
investigation of the FAA’s conduct in this matter. Mr. Anderson contemplates discovery, disclosure of
grand jury testimony, and a complex evidentiary hearing. Essentially, Mr. Anderson seeks to scrutinize
the entire course of the investigation in a full-blown adversarial trial. The procedures proposed by Mr.
Anderson extend far beyond what Representative Hyde contemplated and cannot be justified under
either the Hyde Amendment or, in these circumstances, under any other theory of recovery. The Court
declines to embark upon a separate standard-less evaluation of the United States” prosecutorial decisions
or the conduct of the FAA. Therefore, the Court DENIES Mr. Anderson’s request that this Court
authorize an investigation of or otherwise sanction the conduct of the United States in this action.

Finally, Mr. Anderson challenges the veracity of certain recitations in a plea agreement entered
in case number CRO1-249L. Mr. Anderson argues that these statements, subsequently published, are

patently false and have damaged his personal and professional reputation. However, Mr. Anderson was

 

/ Of course, had plaintiff persisted with the prosecution through trial, the Court’s analysis might
be different.
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not party to the plea agreement at issue or even to case number CRO1-249L. The Hyde Amendment
provides no avenue for relief with respect to a prosecution to which the movant is not party. Likewise,

this Court will not employ its * ve powers” to provide any such relief.

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a UNITED STATES DISTRICT JUDGE

SO ORDERED this \ ) is y of June, 2002.

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